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        UNITED STATES COURT OF INTERNATIONAL TRADE

 AUXIN SOLAR INC.,
       Plaintiff,
 v.
 UNITED STATES,
                                               Ct. No. 23-00223
       Defendant,
 and                                           Before: M. Miller Baker, Judge
 BYD (H.K.) CO., LTD., and
 FLORIDA POWER & LIGHT
 COMPANY,
       Defendant-Intervenors.

                                     ORDER

       The Chief Judge recently assigned these chambers nine cases 1 arising

out of the Department of Commerce’s circumvention investigation into crystal-

line silicon photovoltaic cells from Cambodia, Malaysia, Thailand, and Vi-

etnam. See Antidumping and Countervailing Duty Orders on Crystalline Sili-

con Photovoltaic Cells, Whether or Not Assembled into Modules, from the Peo-

ple’s Republic of China, 88 Fed. Reg. 57,419 (Dep’t Commerce Aug. 23, 2023).

       Before considering any proposed briefing schedule, the court wishes to

hear the parties’ views on to what extent, if any, it should consolidate these

cases for all or more limited purposes, and whether it would be appropriate to

designate one or more test cases and stay the remaining matters.




1 Cases 23-221, 23-222, 23-223, 23-224, 23-225, 23-226, 23-227, 23-228, and 23-229.
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      Accordingly, the court BIFURCATES the Rule 56.2 procedure for a joint

status report and proposed briefing schedule. All parties shall confer and file a

joint status report no later than Friday, February 9, 2024, limited to the ques-

tions posed above and any related issues. Once the court has resolved those

questions, the court will ask the parties to propose a briefing schedule.

Dated:       January 19, 2024                    /s/ M. Miller Baker
             New York, New York                  M. Miller Baker, Judge




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